Case 2:20-cv-05581-DSF-GJS   Document 391-2   Filed 01/17/25   Page 1 of 38 Page
                                  ID #:7007




                                                           EXHIBIT A
       Case 2:20-cv-05581-DSF-GJS                            Document 391-2                 Filed 01/17/25              Page 2 of 38 Page
                                                                  ID #:7008
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

BEYOND BLOND PRODUCTIONS, LLC                            )
                               Plaintiff                 )
                            v.
EDWARD HELDMAN III, and individual; COMEDYMX, INC., a    ) Civil Action No. 2:20-cv-05581 DSF (GJSx)
Nevada corporation;                                      )
COMEDYMX, LLC, a Delaware limited liability company; and
DOES 1-10                                                )
                        Defendant                        )
                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                       OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
       MANDOUR & ASSOCIATES, APC.
       c/o Joseph A Mandour, Agent for Service of Process
To:    8605 Santa Monica Blvd, Suite 1500
       Los Angeles, CA 90069
                                                 (Name of person to whom this subpoena is directed)

    ✓
    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS IN A
          CIVIL ACTION


 Place:       Milord & Associates, PC                                                   Date and Time:
              10517 W. Pico Blvd                                                              October 11, 2022 at 5:00 pm
              Los Angeles, CA 90064
     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 27, 2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                   /s/ Milord A. Keshishian
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature
                                                                                                   Milord A. Keshishian
The name, address, e-mail address, and telephone number of the attorney representing (name of party)
BEYOND BLOND PRODUCTIONS, LLC                                                                    , who issues or requests this subpoena, are:
Milord A. Keshishian, MILORD & ASSOCIATES, PC, milord@milordlaw.com,
10517 W. Pico Boulevard, Los Angeles, California 90064, Tel: (310) 226-7878 Fax: (310) 226-7879
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 2:20-cv-05581-DSF-GJS                          Document 391-2                  Filed 01/17/25              Page 3 of 38 Page
                                                                 ID #:7009
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:20-cv-05581 DSF (GJSx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 2:20-cv-05581-DSF-GJS                              Document 391-2                  Filed 01/17/25                 Page 4 of 38 Page
                                                                    ID #:7010
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:20-cv-05581-DSF-GJS   Document 391-2   Filed 01/17/25   Page 5 of 38 Page
                                  ID #:7011




                             ATTACHMENT A
Case 2:20-cv-05581-DSF-GJS      Document 391-2     Filed 01/17/25   Page 6 of 38 Page
                                     ID #:7012


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2    Stephanie V. Trice, SBN 324944
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3    MILORD & ASSOCIATES, P.C.
4
     10517 West Pico Boulevard
     Los Angeles, California 90064
5    Tel: (310) 226-7878
6    Attorneys for Plaintiff
     Beyond Blond Productions, LLC
7
8
                              UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11
     BEYOND BLOND PRODUCTIONS, LLC,                Case No.: 2:20-cv-5581-DSF-(GJSx)
12   a California limited liability company;
13                                                 ATTACHMENT A TO SUBPOENA
                Plaintiff,                         TO PRODUCE DOCUMENTS,
14                                                 INFORMATION, OR OBJECTS OR
15              vs.                                TO PERMIT INSPECTION OF
                                                   PREMISES IN A CIVIL ACTION;
16
     EDWARD HELDMAN III, an individual;
17   COMEDYMX, INC., a Nevada corporation;         ATTACHMENT B – ORDER (IN
18   COMEDYMX, LLC, a Delaware limited             CHAMBERS) GRANTING IN PART
     liability company; and DOES 1-10;             PLAINTIFF’S MOTION FOR
19                                                 CONTEMPT [249] AND
20              Defendants.                        REQUIRING USE OF SPECIAL
                                                   MASTER AND IT FORENSIC
21                                                 SPECIALIST
22
23
24
25
26
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28



                                             -1-
       ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
                       PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Case 2:20-cv-05581-DSF-GJS          Document 391-2     Filed 01/17/25   Page 7 of 38 Page
                                         ID #:7013


1                                       “ATTACHMENT A”
2            1.   “PERSON(S)” means and includes any individual, sole proprietorship,
3    partnership, unincorporated association, corporation, or other legal entity or form of
4    organization or association.
5            2.   “MANDOUR,” “YOU,” “YOUR,” and “YOURSELF” means Mandour &
6    Associates, APC and all of YOUR attorneys, employees and/or agents, and all other
7    PERSON(S) acting on behalf of, or under the direction or control of YOU.
8            3.   “PLAINTIFF” means BEYOND BLOND PRODUCTIONS, LLC, and any
9    officer, employee, counsel, agent, representative, or other PERSON acting on behalf of
10   same.
11           4.   “DEFENDANT(S)” means the Defendants EDWARD HELDMAN III,
12   COMEDYMX, INC., COMEDYMX, LLC, and their agents and attorneys, including
13   Joseph A. Mandour III, Esq., Ben T. Lila, Esq., Gordon E. Gray, Esq., John Salcido,
14   Esq., Lindsey Olson Diefenbach, Esq., Meir Weston, Esq., K. Andrew Kent, Esq., Greg
15   Albright, Esq., Stephen Rafferty, Esq., and Keith Wesley, Esq., Jeffrey Heldman, Esq.,
16   Randall Newman, Esq., Meir Westreich, Esq., and/or Ivan M. Posey.
17           5.   “CASE 6890999701” means the Amazon Report Infringement Form
18   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 1” uploaded
19   by PLAINTIFF.
20           6.   “CASE 6891043541” means the Amazon Report Infringement Form
21   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 2” uploaded
22   by PLAINTIFF.
23           7.   “CASE 6891006641” means the Amazon Report Infringement Form
24   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 3” uploaded
25   by PLAINTIFF.
26           8.   “CASE 6890994521” means the Amazon Report Infringement Form
27   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 4” uploaded
28   by PLAINTIFF.


                                                 -2-
       ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
                       PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Case 2:20-cv-05581-DSF-GJS        Document 391-2         Filed 01/17/25   Page 8 of 38 Page
                                       ID #:7014


1          9.     “CASE 6891030291” means the Amazon Report Infringement Form
2    submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 5” uploaded
3    by PLAINTIFF.
4          10.    “CASE 6891048961” means the Amazon Report Infringement Form
5    submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 6” uploaded
6    by PLAINTIFF.
7          11.    “CASE 7205014561” means the Amazon Report Infringement Form
8    submitted for the Prime Video Submission entitled “Patriotic Cartoon Classics: 25 All-
9    American Cartoons from World War II” uploaded by PLAINTIFF.
10         12.    “CASE 7338834151” means the Amazon Report Infringement Form
11   submitted for the Prime Video Submission entitled “Halloween Cartoons: 16 Cartoon
12   Classics” uploaded by PLAINTIFF.
13         13.    “CASE 7338840791” means the Amazon Report Infringement Form
14   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 2” uploaded
15   by PLAINTIFF.
16         14.    “CASE 7338861861” means the Amazon Report Infringement Form
17   submitted for the Prime Video Submission entitled “Cartoon Classics Vol. 6” uploaded
18   by PLAINTIFF.
19         15.    “DOCUMENT(S)” means all writings, ESI (defined below), drawings,
20   graphs, charts, photographs, sound recordings, images, and other data or data
21   compilations from which information can be obtained and translated, if necessary, by the
22   respondent into reasonably readable form. “ESI” refers to Electronically-Stored
23   Information and means any information or data located on a computer or other device
24   capable of storing electronic data. ESI includes, but is not limited to, e-mail, voice-mail,
25   data collected and stored through the use of the Internet, spreadsheets, databases, word
26   processing DOCUMENTS, images, presentations, application files, executable files, log
27   files, and all other files present on any type of device capable of storing electronic data.
28   Devices capable of storing ESI include, but are not limited to: servers, desktop


                                                   -3-
       ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
                       PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Case 2:20-cv-05581-DSF-GJS        Document 391-2         Filed 01/17/25   Page 9 of 38 Page
                                       ID #:7015


1    computers, portable computers, handheld computers, flash memory devices, wireless
2    communication devices, pagers, workstations, minicomputers, mainframes, and any
3    other forms of online or offline storage, whether on or off company premises.
4          16.    “CONTENT MANAGEMENT SYSTEM” or shall mean any computer
5    application that allows users to upload, publish, edit, organize, delete, and/or manage the
6    content of a website, whether or not the website is hosted on your servers, such as
7    cPanel, WordPress, Microsoft SQL Service, MySQL, or any similar proprietary system
8    you may offer.
9          17.    “COMMUNICATION(S)” shall mean any transmission or exchange of
10   information between two or more PERSON(S), orally or in writing, and includes without
11   limitation any DOCUMENT, conversation or discussion, whether face-to-face or by
12   means of telephone, telegram, telex, telecopier, text messages, electronic mail or other
13   media.
14         18.    “REFER(S) TO” or “RELATE(S) TO” or “RELATING TO” a given
15   subject matter means any DOCUMENT, COMMUNICATION, or THING that
16   constitutes, contains, embodies, comprises, reflects, identifies, states, deals with,
17   comments on, discusses, mentions, responds to, describes, or analyzes that subject.
18
19            REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS
20         1.     YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
21   RELATING TO PLAINTIFF and/or Michelle Justice.
22         2.     YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
23   RELATING TO DEFENDANTS’ trademark rights.
24         3.     YOUR DOCUMENTS and COMMUNICATIONS with any PERSON
25   RELATING TO DEFENDANTS’ trademark rights.
26         4.     YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
27   RELATING TO PLAINTIFF’s Prime Video Submissions, including ASIN
28   B06VY19XFP, ASIN B06XDQBQLN, ASIN B06ZXRG6VX, ASIN B06VY19XFP,


                                                   -4-
       ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
                       PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Case 2:20-cv-05581-DSF-GJS        Document 391-2     Filed 01/17/25   Page 10 of 38 Page
                                       ID #:7016


1    ASIN B079SRPXX9, ASIN B07RWL5KDS, and ASIN B071GZJYT7.
2             5.    YOUR DOCUMENTS and COMMUNICATIONS with any PERSON(s)
3    RELATING TO PLAINTIFF’s Prime Video Submissions, including ASIN
4    B06VY19XFP, ASIN B06XDQBQLN, ASIN B06ZXRG6VX, ASIN B06VY19XFP,
5    ASIN B079SRPXX9, ASIN B07RWL5KDS, and ASIN B071GZJYT7.
6             6.    YOUR DOCUMENTS and COMMUNICATIONS with Keith Wood
7    RELATING TO PLAINTIFF.
8             7.    YOUR DOCUMENTS and COMMUNICATIONS RELATING TO Keith
9    Wood and this lawsuit.
10            8.    YOUR DOCUMENTS and COMMUNICATIONS with and PERSON
11   RELATING to DEFENDANTS’ trademark application no. 88/789,484, including
12   takedown notices.
13            9.    YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
14   RELATING TO DEFENDANTS’ trademark that contains the term “cartoon classics.”
15            10.   YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
16   RELATING to copyrights and PLAINTIFF, including DMCA takedown notices and bad
17   faith.
18            11.   YOUR DOCUMENTS and COMMUNICATIONS RELATING to this
19   lawsuit.
20            12.   YOUR DOCUMENTS and COMMUNICATIONS RELATING TO
21   “Attachment B” annexed hereto, wherein the Court finds DEFENDANTS waived the
22   attorney-client privilege.
23
24   Dated: September 27, 2022             MILORD & ASSOCIATES, P.C.
25
26                                         By:/s/ Milord A. Keshishian
27                                         Milord A. Keshishian
                                           Attorney for Plaintiff
28                                         BEYOND BLOND PRODUCTIONS, LLC


                                               -5-
        ATTACHMENT A TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO
                        PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
Case 2:20-cv-05581-DSF-GJS   Document 391-2   Filed 01/17/25   Page 11 of 38 Page
                                  ID #:7017




                             ATTACHMENT B
Case
 Case2:20-cv-05581-DSF-GJS
      2:20-cv-05581-DSF-GJS Document
                              Document
                                     287
                                       391-2
                                          Filed 07/18/22
                                                Filed 01/17/25
                                                           Page 1Page
                                                                  of 4 12
                                                                        Page
                                                                          of 38
                                                                              ID #:5951
                                                                                 Page
                                   ID #:7018
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-05581-DSF-GJS                                  Date      July 18, 2022
 Title          Beyond Blond Productions, LLC v. Edward Heldman III et al



 Present:                  Hon. Gail J. Standish, United States Magistrate Judge
                 Elisa Quintero                                              N/A
                 Deputy Clerk                                    Court Reporter / Recorder
          Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
                   None present                                         None present

 Proceedings:           ORDER (IN CHAMBERS) GRANTING IN PART
                        PLAINTIFF’S MOTION FOR AN CONTEMPT [249] AND
                        REQUIRING USE OF SPECIAL MASTER AND IT FORENSIC
                        SPECIALIST



       On June 23, 2022, the Court held a hearing on Plaintiff’s Motion for Contempt,
which alleged, inter alia, that Defendants had not complied with the requirements of the
Court’s previous Order regarding certain discovery. The Court’s Previous Discovery
Order [Dkt. 232], required all responsive document to be produced by April 29, 2022, at
5 p.m. The Court also found that Defendants’ failures to produce documents and
otherwise engage in discovery, and the complete lack of merit in Defendants opposition
to Plaintiff’s motion to compel, warranted the shifting of attorneys’ fees. The Court
made an award that is not the subject of Plaintiff’s present motion to compel.

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                                                                      Initials of Preparer    eq

CV-90 (10/08)                          CIVIL MINUTES - GENERAL                                   Page 1 of 4
Case
 Case2:20-cv-05581-DSF-GJS
      2:20-cv-05581-DSF-GJS Document
                              Document
                                     287
                                       391-2
                                          Filed 07/18/22
                                                Filed 01/17/25
                                                           Page 2Page
                                                                  of 4 13
                                                                        Page
                                                                          of 38
                                                                              ID #:5952
                                                                                 Page
                                   ID #:7019
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-05581-DSF-GJS                          Date       July 18, 2022
 Title          Beyond Blond Productions, LLC v. Edward Heldman III et al



         In the Court’s Prior Discovery Order, the Court also noted and ordered as follows:




      Plaintiff’s present motion to compel provides uncontroverted evidence that
Defendants have willfully violated the Court prior discovery order by not producing the
vast majority of responsive documents or any privilege log. Nor did Defendants provide
the declaration required by the Prior Discovery Order.

       Plaintiffs’ Motion also details heinous statements made by defendant Heldman to
and about Plaintiff’s Counsel as well as certain statements about both judicial officers
assigned to this matter. The Court need not address specifically these statements, as they


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                                                               Initials of Preparer    eq

CV-90 (10/08)                        CIVIL MINUTES - GENERAL                              Page 2 of 4
Case
 Case2:20-cv-05581-DSF-GJS
      2:20-cv-05581-DSF-GJS Document
                              Document
                                     287
                                       391-2
                                          Filed 07/18/22
                                                Filed 01/17/25
                                                           Page 3Page
                                                                  of 4 14
                                                                        Page
                                                                          of 38
                                                                              ID #:5953
                                                                                 Page
                                   ID #:7020
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-05581-DSF-GJS                            Date      July 18, 2022
 Title          Beyond Blond Productions, LLC v. Edward Heldman III et al

were also the subject of motion practice before the District Judge and consequent orders.
[Dkt. 272 (District Judge’s Order).]

       For the reasons set forth in detail at the hearing on Plaintiff’s Motion, the Court
finds and orders the following:

         1. Because Defendants did not produce a privilege log, all privileges are waived.
            The Court previously held that Defendants waived privilege except those
            related to the present litigation. Given Defendants failure to comply with any
            of the Court’s prior discovery rulings, including timely production of any
            documents or preparation of a privilege log, the Court now holds that all
            privileges – including for work product related to litigation – have been waived.
            Defendants are to produce all requested documents without redaction within
            two (2) weeks of this order.

         2. Plaintiff’s Request that affirmative defenses 1 – 9 be stricken is denied without
            prejudice. The District Judge must approve any such sanction. Plaintiff’s may
            refile this request, seeking a recommendation from the Magistrate Judge to the
            District Judge or directly with the District Judge, upon a showing of prejudice
            at a later date.

         3. At the hearing, the Court ordered the parties to provide a selection of proposed,
            agreed to Special Masters, because the Court orders that any depositions of
            defendant Heldman be overseen by a Special Master. The parties agreed that
            any of the retired judicial officers listed below would be acceptable to both
            sides. The Court therefore orders that the parties contact one or more of the
            following to obtain their availability. The deposition or depositions of
            defendant Heldman will be conducted via Zoom (given the threats made by
            Heldman to Plaintiff’s counsel) and will be overseen by one of the following
            retired judicial officers. Defendants are to pay for the use of the Special
            Master. Defendants must provide a retainer to the Special Master in the amount



                                                                                       00:00
                                                                Initials of Preparer    eq

CV-90 (10/08)                         CIVIL MINUTES - GENERAL                              Page 3 of 4
Case
 Case2:20-cv-05581-DSF-GJS
      2:20-cv-05581-DSF-GJS Document
                              Document
                                     287
                                       391-2
                                          Filed 07/18/22
                                                Filed 01/17/25
                                                           Page 4Page
                                                                  of 4 15
                                                                        Page
                                                                          of 38
                                                                              ID #:5954
                                                                                 Page
                                   ID #:7021
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-05581-DSF-GJS                            Date       July 18, 2022
 Title             Beyond Blond Productions, LLC v. Edward Heldman III et al

                of one full day at the rate of the Special Master chosen. Payment of the retainer
                is to be made before the deposition is conducted.

                   a. Hon. Patrick J Walsh (Ret.): https://signatureresolution.com/neutral-
                      CPT/hon-patrick-j-walsh-ret/

                   b. Hon. Suzanne H. Segal (Ret.): https://signatureresolution.com/neutral-
                      CPT/hon-suzanne-h-segal-ret/

                   c. Hon. Elizabeth D. Laporte (Ret.): https://www.jamsadr.com/laporte/

                   d. Hon. James C. Francis IV (Ret.): https://www.jamsadr.com/francis/

         4. At the Zoom deposition, both defendant Heldman and his counsel must be
            clearly visible to prevent any coaching or other improper behavior.

         5. The Court also orders that Defendants retain, at their expense, an IT Forensics
            Specialist to conduct the forensic analysis discussed on the record at the hearing
            related to imaging and analysis of defendant Heldman’s computer, a removable
            hard drive, an iPhone, and an iPad. The parties agree that the specialists at
            either of the following websites would be appropriate for such an analysis:
            www.innovativedriven.com www.idiscoverglobal.com. Plaintiff may select
            from either of the two specialists. Defendants are to provide the selected
            specialist with a $5,000 retainer by no later than one week after the date of this
            order, and additionally must provide the relevant electronic devices to be
            imaged within 3 business days after that at a date amenable to the IT specialist.

         IT IS SO ORDERED.

cc: District Judge




                                                                                           00:00
                                                                    Initials of Preparer    eq

CV-90 (10/08)                             CIVIL MINUTES - GENERAL                              Page 4 of 4
Case 2:20-cv-05581-DSF-GJS    Document 391-2     Filed 01/17/25   Page 16 of 38 Page
                                   ID #:7022


1    Milord A. Keshishian, SBN 197835
     milord@milordlaw.com
2    Stephanie V. Trice, SBN 324944
     stephanie@milordlaw.com
3    MILORD & ASSOCIATES, P.C.
4
     10517 West Pico Boulevard
     Los Angeles, California 90064
5    Tel: (310) 226-7878
6    Attorneys for Plaintiff
     Beyond Blond Productions, LLC
7
8
                          UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11
     BEYOND BLOND PRODUCTIONS, LLC, Case No.: 2:20-cv-5581 DSF (GJSx)
12   a California limited liability company;
13                                           NOTICE OF SUBPOENA TO
                   Plaintiff,                MANDOUR & ASSOCIATES, APC
14                                           TO PRODUCE DOCUMENTS,
15                 vs.                       INFORMATION, OR OBJECTS
16
     EDWARD HELDMAN III, an individual;
17   COMEDYMX, INC., a Nevada corporation;
18   COMEDYMX, LLC, a Delaware limited
     liability company; and DOES 1-10;
19
20              Defendants.
21
22
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                                           -1-
          NOTICE OF SUBPOENA TO MANDOUR & ASSOCIATES, APC TO PRODUCE DOCUMENTS,
                                 INFORMATION, OR OBJECTS
Case 2:20-cv-05581-DSF-GJS       Document 391-2       Filed 01/17/25   Page 17 of 38 Page
                                      ID #:7023


1            TO ALL INTERESTED PARTIES AND TO THEIR ATTORNEYS OF
2    RECORD IN THIS ACTION:
3            You are hereby notified of the attached subpoena directed to Mandour &
4    Associates, APC for the production of certain documents by 5:00 p.m. on October 11,
5    2022.
6
7
8    Dated: September 27, 2022             Respectfully submitted,
9
10                                         MILORD & ASSOCIATES, P.C.
11
12                                         By:_/s/ Milord A. Keshishian
13
                                           Milord A. Keshishian
                                           Attorney for Plaintiff
14                                         BEYOND BLOND PRODUCTIONS, LLC
15
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                                                -2-
             NOTICE OF SUBPOENA TO MANDOUR & ASSOCIATES, APC TO PRODUCE DOCUMENTS,
                                    INFORMATION, OR OBJECTS
Case 2:20-cv-05581-DSF-GJS           Document 391-2           Filed 01/17/25   Page 18 of 38 Page
                                          ID #:7024


1                                            PROOF OF SERVICE
2                           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
         I declare that I am over the age of eighteen (18) years and not a party to this action. My business
3    address is 10517 West Pico Boulevard, Los Angeles, California 90064 and I am employed in the office
4    of a member of the bar of this Court at whose direction this service was made.
     On September, 27, 2022, I served the following document(s) described as: NOTICE OF SUBPOENA
5    TO MANDOUR & ASSOCIATES, APC TO PRODUCE DOCUMENTS, INFORMATION, OR
     OBJECTS
6
             BY MAIL as follows: I am readily familiar with the firm’s practice of collection and processing
7            of correspondence for mailing with the United States Postal Service. Under that practice the
             correspondence was deposited with the United States Postal Service on the same day this
8            declaration was executed in the ordinary course of business. Under that practice the envelope(s)
             was (were) sealed, and with postage thereon fully prepaid, placed for collection and mailing on
9
             this date in the United States Mail at Los Angeles, California addressed as set forth below.
10           BY PERSONAL SERVICE as follows: I caused such envelope(s) to be delivered by hand to
             the addressee(s) at the address set forth below by Now Messenger Service.
11           BY FEDERAL EXPRESS as follows: I placed the document(s) listed above with fees thereon
12           fully prepaid for deposit with Federal Express (next business day delivery), this same day
             following ordinary business practices to the address(es) set forth below.
13           BY FACSIMILE TRANSMISSION as follows: I caused the above-referenced document(s) to
             be transmitted by facsimile to its intended recipient(s) at the following facsimile number(s)
14           before 5:00 p.m.
15           BY ELECTRONIC MAIL (EMAIL) TRANSMISSION as follows: I caused the above-
      X
             referenced document(s), in .pdf format and a Sharelink file folder, to be transmitted by email to
16           its intended recipient(s) at the following email addresses set forth below:
17   Randall Scott Newman, Esq.                               Ivan M Posey
     99 Wall St. Suite 3727                                   Leech Tishman Fuscaldo & Lampl,
18
     New York, NY 10005                                       200 S. Los Robles Ave., Suite 300
19   (212)797-3737                                            Pasadena, CA 91101
     rsn@randallnewman.net
                                                              (626)796-4000
20                                                            iposey@leechtishman.com
21
            I declare under penalty of perjury that the foregoing is true and correct and that this declaration
22   was executed on September 27, 2022, at Los Angeles, California.
23
            STATE:          I declare under penalty of perjury pursuant to the laws of the State of California
24          that the foregoing is true and correct.

25          FEDERAL: I declare that I am employed in the office of a member of the bar of this court at
      X
            whose direction service was made.
26
27
                                                         _______________________
28                                                       Carole Rizkallah


                                                        -3-
            NOTICE OF SUBPOENA TO MANDOUR & ASSOCIATES, APC TO PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS
Case 2:20-cv-05581-DSF-GJS   Document 391-2   Filed 01/17/25   Page 19 of 38 Page
                                  ID #:7025




                                                          EXHIBIT B
     Case 2:20-cv-05581-DSF-GJS   Document 391-2    Filed 01/17/25   Page 20 of 38 Page
                                       ID #:7026




 1    MANDOUR & ASSOCIATES, APC
 2    JOSEPH A. MANDOUR, III (SBN 188896)
      Email: jmandour@mandourlaw.com
 3    BEN T. LILA (SBN 246808)
 4    Email: blila@mandourlaw.com
      8605 Santa Monica Blvd., Suite 1500
 5
      Los Angeles, CA 90069
 6    Telephone: (858) 487-9300
 7
 8
 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12                                             )
       BEYOND BLOND PRODUCTIONS,               ) Case No. 2:20-cv-05581-DSF-
13
       LLC, a California limited liability     ) GJSx
14     company;                                )
15                                             ) MANDOUR & ASSOCIATES,
                   Plaintiff,                  ) APC’S RESPONSE TO
16                                             ) SUBPOENA
17           v.                                )
                                               )
18
       EDWARD HELDMAN III, an                  )
19     individual; COMEDYMX, INC., a           )
       Nevada corporation; COMEDYMX,           )
20
       LLC, a Delaware limited liability       )
21     company; and DOES 1-10;                 )
22                                             )
                   Defendants.                 )
23
24          Pursuant to Fed. R. Civ. P. 26, 34 & 45, third-party MANDOUR &
25    ASSOCIATES, APC (“Responding Party”) responds to the subpoena of Plaintiff
26    Beyond Blond Productions, LLC (“Propounding Party”) as follows:
27
28
                                    MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                            Case No. 20-CV-05581 DSF GJSx
                                         -1-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2        Filed 01/17/25   Page 21 of 38 Page
                                          ID #:7027




 1                             PRELIMINARY STATEMENT
 2          1.     Responding Party has not yet completed its investigation relating to
 3    the facts of this action, has not completed discovery in this action, and has not yet
 4    completed preparation for trial. Responding Party makes its responses to the
 5    request based upon the information presently available to it and without prejudice
 6    to its right to amend or further supplement its responses and to present evidence,
 7    which may hereafter be discovered or become available to it. Furthermore, these
 8    responses are given without prejudice to using at trial subsequently discovered
 9    information or information omitted from these responses as a result of mistake,
10    error, oversight, or inadvertence.
11          2.     Consistent with its obligations pursuant to the Federal Rules of Civil
12    Procedure and in a good faith attempt to respond, Responding Party has contacted
13    those persons and made a diligent search of those records most reasonably believed
14    to possess or contain information responsive to any individual request.
15          3.     By making these responses, Responding Party does not concede that
16    the information sought is relevant. Responding Party makes these responses
17    intending to preserve: (a) the right to raise all questions of authenticity, foundation,
18    relevancy, materiality, privilege, and admissibility as evidence for any purpose of
19    any documents produced in response to the requests that may arise in this or any
20    other action; (b) the right to object to the use of these responses in any subsequent
21    proceeding in, or the trial of, this or any other action on any grounds; (c) the right
22    to object to the introduction of these responses into evidence; and (d) the right to
23    object on any ground at any time to other requests for the production of documents
24    or other discovery involving the subject matter thereof.
25          4.     Responding Party has made reasonable and diligent efforts to respond
26    to each request to the extent it has not been objected to, as Responding Party
27    understands and interprets the request. To the extent that Propounding Part asserts
28
                                           MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                   Case No. 20-CV-05581 DSF GJSx
                                                -2-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25    Page 22 of 38 Page
                                          ID #:7028




 1    an interpretation of any request that is inconsistent with Responding Party’s
 2    understanding, Responding Party reserves the right to amend or supplement its
 3    objections and/or responses.
 4                                 GENERAL OBJECTION
 5          1.     Responding Party objects to each request to the extent that it purports
 6    to require Responding Party to produce documents protected by the attorney-client
 7    privilege and/or attorney work-product doctrine. Nothing contained in these
 8    responses is intended, nor shall it in any way be deemed as, a waiver of the
 9    attorney-client privilege, attorney work-product doctrine, or any other applicable
10    privilege or doctrine. Inadvertent production of any document subject to any
11    applicable right, privilege, or doctrine, including but not limited to, the attorney-
12    client privilege and attorney work-product doctrine, is not intended to be, and shall
13    not operate as, a waiver or any such privilege or doctrine, in whole or in part; nor is
14    any such inadvertent production intended to be, nor shall it constitute, a waiver of
15    the right to object to any use of such document, or of the information contained
16    therein.
17          2.     Responding Party objects to the Attachment and Definitions in the
18    Requests and each request to the extent they seek to impose upon Responding
19    Party duties that are not required by the Federal Rules of Civil Procedure, or any
20    other applicable rules of the court.
21          3.     Responding Party objects to each request to the extent it seeks
22    Responding Party’s trade secrets or other confidential business information or
23    competitively or technically sensitive information or information otherwise subject
24    to confidentiality agreements with third parties or the confidentiality of settlement
25    discussions or agreements or court orders restricting the disclosure of information.
26    Responding Party will produce such confidential information, where appropriate,
27    pursuant to the terms of a protective order.
28
                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              -3-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25   Page 23 of 38 Page
                                          ID #:7029




 1          4.     Responding Party objects to each request to the extent it seeks
 2    documents already produced to Propounding Party or to which Propounding Party
 3    has equal access. Responding Party hereby incorporates this General Objection
 4    into each of the Reponses set forth below, as if set out in full.
 5                              RESPONSES TO REQUESTS
 6    REQUEST NO. 1:
 7          YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
 8    RELATING TO PLAINTIFF and/or Michelle Justice.
 9    RESPONSE TO REQUEST NO. 1:
10          Responding Party incorporates by this reference the above Preliminary
11    Statement and General Objection. Responding Party further objects to the requests
12    as unduly burdensome as the requests seek a large volume of documents and
13    documents that are subject to privilege separate from the privileges addressed in
14    the Court’s Order. The request is also unduly burdensome as defendants have
15    already been ordered to provide many of said documents via a Special Master and
16    the request is therefore unnecessarily duplicative. Responding Party also objects to
17    the request as vague and ambiguous as to time, in particular whether it refers to
18    pre-litigation matters or matters during litigation or both.
19    REQUEST NO. 2:
20          YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
21    RELATING TO DEFENDANTS' trademark rights.
22    RESPONSE TO REQUEST NO. 2:
23          Responding Party incorporates by this reference the above Preliminary
24    Statement and General Objection. Responding Party further objects to the requests
25    as unduly burdensome as the requests seek a large volume of documents and
26    documents that are subject to privilege separate from the privileges addressed in
27    the Court’s Order. The request is also unduly burdensome as defendants have
28
                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              -4-
     Case 2:20-cv-05581-DSF-GJS     Document 391-2     Filed 01/17/25   Page 24 of 38 Page
                                         ID #:7030




 1    already been ordered to provide many of said documents via a Special Master and
 2    the request is therefore unnecessarily duplicative. Responding Party also objects to
 3    the request as vague and ambiguous as to time, in particular whether it refers to
 4    pre-litigation matters or matters during litigation or both. Responding Party
 5    objects to the request as vague and ambiguous as to the term “DEFENDANTS’
 6    trademark rights.”
 7    REQUEST NO. 3:
 8          YOUR DOCUMENTS and COMMUNICATIONS with any PERSON
 9    RELATING TO DEFENDANTS' trademark rights.
10    RESPONSE TO REQUEST NO. 3:
11          Responding Party incorporates by this reference the above Preliminary
12    Statement and General Objection. Responding Party further objects to the requests
13    as unduly burdensome as the requests seek a large volume of documents and
14    documents that are subject to privilege separate from the privileges addressed in
15    the Court’s Order. The request is also unduly burdensome as defendants have
16    already been ordered to provide many of said documents via a Special Master and
17    the request is therefore unnecessarily duplicative. Responding Party also objects to
18    the request as vague and ambiguous as to time, in particular whether it refers to
19    pre-litigation matters or matters during litigation or both. Responding Party
20    objects to the request as vague and ambiguous as to the term “DEFENDANTS’
21    trademark rights.”
22    REQUEST NO. 4:
23          YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
24    RELATING TO PLAINTIFF's Prime Video Submissions, including ASIN
25    B06VYI9XFP, ASIN B06XDQBQLN, ASIN B06ZXRG6VX, ASIN
26    B06VYI9XFP, ASIN B079SRPXX9, ASIN B07RWLSKDS, and ASIN
27    B07lGZJYT7.
28
                                       MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                               Case No. 20-CV-05581 DSF GJSx
                                            -5-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25   Page 25 of 38 Page
                                          ID #:7031




 1    RESPONSE TO REQUEST NO. 4:
 2          Responding Party incorporates by this reference the above Preliminary
 3    Statement and General Objection. Responding Party further objects to the requests
 4    as unduly burdensome as the requests seek a large volume of documents and
 5    documents that are subject to privilege separate from the privileges addressed in
 6    the Court’s Order. The request is also unduly burdensome as defendants have
 7    already been ordered to provide many of said documents via a Special Master and
 8    the request is therefore unnecessarily duplicative. Responding Party also objects to
 9    the request as vague and ambiguous as to time, in particular whether it refers to
10    pre-litigation matters or matters during litigation or both.
11    REQUEST NO. 5:
12          YOUR DOCUMENTS and COMMUNICATIONS with any PERSON(s)
13    RELATING TO PLAINTIFF's Prime Video Submissions, including ASIN
14    B06VY19XFP, ASIN B06XDQBQLN, ASIN B06ZXRG6VX, ASIN
15    B06VY19XFP, ASIN B079SRPXX9, ASIN B07R WLSKDS, and ASIN B07l
16    GZJYT7.
17    RESPONSE TO REQUEST NO. 5:
18          Responding Party incorporates by this reference the above Preliminary
19    Statement and General Objection. Responding Party further objects to the requests
20    as unduly burdensome as the requests seek a large volume of documents and
21    documents that are subject to privilege separate from the privileges addressed in
22    the Court’s Order. The request is also unduly burdensome as defendants have
23    already been ordered to provide many of said documents via a Special Master and
24    the request is therefore unnecessarily duplicative. Responding Party also objects to
25    the request as vague and ambiguous as to time, in particular whether it refers to
26    pre-litigation matters or matters during litigation or both.
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                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              -6-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25   Page 26 of 38 Page
                                          ID #:7032




 1    REQUEST NO. 6:
 2          YOUR DOCUMENTS and COMMUNICATIONS with Keith Wood
 3    RELATING TO PLAINTIFF.
 4    RESPONSE TO REQUEST NO. 6:
 5          Responding Party incorporates by this reference the above Preliminary
 6    Statement and General Objection. Responding Party further objects to the requests
 7    as unduly burdensome as the requests seek a large volume of documents and
 8    documents that are subject to privilege separate from the privileges addressed in
 9    the Court’s Order. The request is also unduly burdensome as defendants have
10    already been ordered to provide many of said documents via a Special Master and
11    the request is therefore unnecessarily duplicative. Responding Party also objects to
12    the request as vague and ambiguous as to time, in particular whether it refers to
13    pre-litigation matters or matters during litigation or both.
14    REQUEST NO. 7:
15          YOUR DOCUMENTS and COMMUNICATIONS RELATING TO Keith
16    Wood and this lawsuit.
17    RESPONSE TO REQUEST NO. 7:
18          Responding Party incorporates by this reference the above Preliminary
19    Statement and General Objection. Responding Party further objects to the requests
20    as unduly burdensome as the requests seek a large volume of documents and
21    documents that are subject to privilege separate from the privileges addressed in
22    the Court’s Order. The request is also unduly burdensome as defendants have
23    already been ordered to provide many of said documents via a Special Master and
24    the request is therefore unnecessarily duplicative. Responding Party also objects to
25    the request as vague and ambiguous as to time, in particular whether it refers to
26    pre-litigation matters or matters during litigation or both.
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                                        MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                Case No. 20-CV-05581 DSF GJSx
                                             -7-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25   Page 27 of 38 Page
                                          ID #:7033




 1    REQUEST NO. 8:
 2          YOUR DOCUMENTS and COMMUNICATIONS with and {sic} PERSON
 3    RELATING to DEFENDANTS' trademark application no. 88/789,484, including
 4    takedown notices.
 5    RESPONSE TO REQUEST NO. 8:
 6          Responding Party incorporates by this reference the above Preliminary
 7    Statement and General Objection. Responding Party further objects to the requests
 8    as unduly burdensome as the requests seek a large volume of documents and
 9    documents that are subject to privilege separate from the privileges addressed in
10    the Court’s Order. The request is also unduly burdensome as defendants have
11    already been ordered to provide many of said documents via a Special Master and
12    the request is therefore unnecessarily duplicative. Responding Party also objects to
13    the request as vague and ambiguous as to time, in particular whether it refers to
14    pre-litigation matters or matters during litigation or both.
15    REQUEST NO. 9:
16          YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
17    RELATING TO DEFENDANTS' trademark that contains the term "cartoon
18    classics."
19    RESPONSE TO REQUEST NO. 9:
20          Responding Party incorporates by this reference the above Preliminary
21    Statement and General Objection. Responding Party further objects to the requests
22    as unduly burdensome as the requests seek a large volume of documents and
23    documents that are subject to privilege separate from the privileges addressed in
24    the Court’s Order. The request is also unduly burdensome as defendants have
25    already been ordered to provide many of said documents via a Special Master and
26    the request is therefore unnecessarily duplicative. Responding Party also objects to
27    the request as vague and ambiguous as to time, in particular whether it refers to
28
                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              -8-
     Case 2:20-cv-05581-DSF-GJS      Document 391-2      Filed 01/17/25   Page 28 of 38 Page
                                          ID #:7034




 1    pre-litigation matters or matters during litigation or both.
 2    REQUEST NO. 10:
 3          YOUR DOCUMENTS and COMMUNICATIONS with DEFENDANTS
 4    RELATING to copyrights and PLAINTIFF, including DMCA takedown notices
 5    and bad faith.
 6    RESPONSE TO REQUEST NO. 10:
 7          Responding Party incorporates by this reference the above Preliminary
 8    Statement and General Objection. Responding Party further objects to the requests
 9    as unduly burdensome as the requests seek a large volume of documents and
10    documents that are subject to privilege separate from the privileges addressed in
11    the Court’s Order. The request is also unduly burdensome as defendants have
12    already been ordered to provide many of said documents via a Special Master and
13    the request is therefore unnecessarily duplicative. Responding Party also objects to
14    the request as vague and ambiguous as to time, in particular whether it refers to
15    pre-litigation matters or matters during litigation or both.
16    REQUEST NO. 11:
17          YOUR DOCUMENTS and COMMUNICATIONS RELATING to this
18    lawsuit.
19    RESPONSE TO REQUEST NO. 11:
20          Responding Party incorporates by this reference the above Preliminary
21    Statement and General Objection. Responding Party further objects to the requests
22    as unduly burdensome as the requests seek a large volume of documents and
23    documents that are subject to privilege separate from the privileges addressed in
24    the Court’s Order. The request is also unduly burdensome as defendants have
25    already been ordered to provide many of said documents via a Special Master and
26    the request is therefore unnecessarily duplicative. Responding Party also objects to
27    the request as vague and ambiguous as to time, in particular whether it refers to
28
                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              -9-
     Case 2:20-cv-05581-DSF-GJS        Document 391-2    Filed 01/17/25    Page 29 of 38 Page
                                            ID #:7035




 1    pre-litigation matters or matters during litigation or both.
 2    REQUEST NO. 12:
 3          YOUR DOCUMENTS and COMMUNICATIONS RELATING TO
 4    "Attachment B" annexed hereto, wherein the Court finds DEFENDANTS waived
 5    the attorney-client privilege.
 6    RESPONSE TO REQUEST NO. 12:
 7          Responding Party incorporates by this reference the above Preliminary
 8    Statement and General Objection. Responding Party objects to this request as
 9    unduly burdensome as defendants have already been ordered to provide many of
10    said documents via a Special Master and the request is therefore unnecessarily
11    duplicative. Responding Party also objects to the request as vague and ambiguous
12    as to time, in particular whether it refers to pre-litigation matters or matters during
13    litigation or both. Responding Party objects to this request as vague and
14    ambiguous as “relating to Attachment B” as Responding Party did not see this
15    document until it was served with the subpoena at issue. Responding Party objects
16    to this request to the extent it seeks documents or information protected by
17    Responding Party’s own attorney-client privilege for communications with its own
18    counsel.
19
20                                      MANDOUR & ASSOCIATES, APC
21    Dated: October 11, 2022
22
23                                      Ben T. Lila (SBN 246808)
24                                      Email: blila@mandourlaw.com
25
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28
                                         MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                                 Case No. 20-CV-05581 DSF GJSx
                                              - 10 -
     Case 2:20-cv-05581-DSF-GJS    Document 391-2     Filed 01/17/25   Page 30 of 38 Page
                                        ID #:7036




 1                              CERTIFICATE OF SERVICE

 2
            I hereby certify that on the below date, I served the foregoing document via

 3
      email on the following:

 4          Milord & Associates, PC
 5          10517 West Pico Boulevard
            Los Angeles, CA 90064
 6
            Telephone: (310) 226-7878
 7          Email: milord@milordlaw.com
 8
      Date: October 11, 2022
 9
10                                          Ben T. Lila

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                                      MANDOUR & ASSOCIATES, APC’S RESPONSE TO SUBPOENA
                                                              Case No. 20-CV-05581 DSF GJSx
                                           - 11 -
Case 2:20-cv-05581-DSF-GJS   Document 391-2   Filed 01/17/25    Page 31 of 38 Page
                                  ID #:7037




                                                               EXHIBIT C
Case 2:20-cv-05581-DSF-GJS                 Document 391-2            Filed 01/17/25         Page 32 of 38 Page
                                                ID #:7038



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


     In re:                                                  Chapter 11

     COMEDYMX, LLC., et al., 1                               Case No. 22-11181 (CTG)

                                      Debtors.               (Jointly Administered)

                                                             (Subchapter V)



                                       SETTLEMENT AGREEMENT


         This Settlement Agreement (the “Settlement Agreement”) is entered into by and between:
 (i) William A. Homony, solely in his capacity as the subchapter V trustee (the “Trustee”) appointed
 in the chapter 11 cases of the above-captioned debtors only (the “Debtors”), on behalf of the
 Debtors only and their bankruptcy estates (the “Estates”) and (ii) Beyond Blond Productions, LLC
 (“BBP”). The Trustee and BBP are each referred to herein as a “Party” and collectively as the
 “Parties”.
                                                BACKGROUND
        WHEREAS, on November 14, 2022 (the “Petition Date”) each of the Debtors filed
 voluntary petitions for relief in the United States Bankruptcy Court for the District of Delaware
 (the “Bankruptcy Court”) under subchapter V of chapter 11 of Title 11 of the United States Code
 (the “Bankruptcy Code”). Until December 16, 2022, the Debtors operated their business as debtors
 in possession; and

         WHEREAS, on November 16, 2022, the Trustee was appointed as the subchapter V trustee
 in the Debtors’ bankruptcy cases; and

        WHEREAS, on December 16, 2022, the Bankruptcy Court entered a Memorandum
 Opinion and related Order (collectively, the “Order”) removing the Debtors as debtors in
 possession and expanding the Trustee’s powers pursuant to section 1183 of the Bankruptcy Code.
 Pursuant to the Order, the Trustee is charged with performing the duties specified in sections
 1183(b)(2) and (5) of the Bankruptcy Code, including operating the Debtors’ business; and

        WHEREAS, prior to the Petition Date, BBP commenced litigation against the Debtors in
 the United States District Court for the Central District of California (the “District Court”), Case
 No. 2:20-cv-05581 DSF-(GJS) (the “California Litigation”); and

 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: ComedyMX, LLC (0407); and ComedyMX, Inc (5749).
Case 2:20-cv-05581-DSF-GJS           Document 391-2         Filed 01/17/25      Page 33 of 38 Page
                                          ID #:7039




         WHEREAS, on December 21, 2022, BBP filed the Motion of Beyond Blond Productions,
 LLC For Relief From Automatic Stay [Dkt. No. 49] (the “BBP Stay Relief Motion”). Pursuant to
 the BBP Stay Relief Motion, BBP seeks relief from the automatic stay to continue the California
 Litigation against the Debtors. The Trustee filed an objection to the BBP Stay Relief Motion on
 January 9, 2023; and

        WHEREAS, on January 12, 2023, BBP filed a general unsecured proof of claim against
 Debtor ComedyMX LLC in the amount of $3,644,852.00, which was assigned claim no. 2 on the
 claims register for ComedyMX LLC (the “BBP Proof of Claim”); and

        WHEREAS, the Trustee has investigated the claims asserted by BBP against the Debtors
 by way of the California Litigation and the BBP Proof of Claim, and, in connection therewith, has
 obtained and analyzed certain information and records from BBP; and

        WHEREAS, the Trustee and BBP have engaged in substantial good faith, arms’ length
 negotiations, which negotiations have led to the settlement embodied herein.

        NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of
 which is hereby acknowledged, the Parties hereby agree that:

        1.      Recitals. The recitals set forth above are incorporated herein by reference.
          2.     Settlement Effective Date. The effective date of this Settlement Agreement and
 all of its terms shall be the date upon which the Bankruptcy Court shall have entered a final and
 non-appealable order approving this Settlement Agreement (the “Settlement Effective Date”).
         3.      Reduction and Allowance of BBP Proof of Claim. Upon the Settlement Effective
 Date, the BBP Proof of Claim will be deemed an allowed general unsecured non-priority claim
 against the Estates in the reduced amount of $987,500.00 (the “Allowed BBP Proof of Claim”).
 Other than the Allowed BBP Proof of Claim, BBP shall not have any claims of any kind, nature
 or priority against the Debtors or their Estates. BBP shall not object to any plan of reorganization
 on the basis of the treatment of the Allowed BBP Proof of Claim, provided that (a) such plan
 provides that payments on the Allowed BBP Proof of Claim will be made pro-rata with other
 similarly situated allowed general unsecured claims on a quarterly basis from the Debtors’ actual
 disposable income for a period not to exceed five (5) years from the effective date of confirmation
 of such plan, or until the Allowed BBP Proof of Claim is paid in full, whichever is earlier and (b)
 nothing in the plan undermines the treatment set forth in section (3)(a). For the avoidance of doubt,
 BBP retains to object to a plan of reorganization on any other basis.
        4.     Other Agreements. The Parties further agree that, subject to the occurrence of the
 Settlement Effective Date:
                (a)     Debtors shall not use any design that incorporates the font and design
                                           , or any design or font substantially similar thereto, on
                any animated cartoons and shall, within five (5) days from the Settlement Effective
                Date, modify all of its channels to remove such designs from any header/banner,



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Case 2:20-cv-05581-DSF-GJS                Document 391-2            Filed 01/17/25        Page 34 of 38 Page
                                               ID #:7040



                  including      from       the       following   YouTube                                channel:
                  https://www.youtube.com/channel/UCisLEYSLcfuarGXULo5JpIw.

                  (b)       Debtors     shall     be    permitted      to    use    the    following      design:
                                            in association with their cartoon classics videos and BBP
                  shall not issue any takedown notices or assert any claims or causes of action against
                  the Debtors with respect to such use.

                  (c)    Debtors shall never issue takedown notices for or post any derogatory
                  reviews on the following videos created and/or distributed by BBP:
                              Cartoon Classics – Vol. 1: 25 Favorite Cartoons
                              Cartoon Classics – Vol. 2: 25 Favorite Cartoons
                              Cartoon Classics – Vol. 3: 25 Favorite Cartoons
                              Cartoon Classics – Vol. 4: 25 Favorite Cartoons
                              Cartoon Classics – Vol. 5: 25 Favorite Cartoons
                              Cartoon Classics – Vol. 6: 25 Favorite Cartoons
                              Patriotic Cartoon Classics: 25 All-American Cartoons from World War
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                  (d)      Debtors shall not (i) take any further action to prosecute U.S. Trademark
                  Application No. 97097679 and shall not respond to the pending Office Action, (ii) take any
                  further action in Opposition No. 91265428 before the Trademark Trial and Appeal Board
                  ("TTAB") for U.S. Trademark Application No. 88789484 (iii) issue any takedown notices
                  or assert any claims or causes of action against BBP in connection with United Kingdom
                  Registration No. UK00003534828, Australian Registration No. T0025485AU, or any other
                  trademark registration of the Debtors for the                          design and (iv)
                  file any additional trademark applications that contain the term “cartoon classics” or
                  anything similar thereto.

                  (e)      The Trustee, on behalf of the Debtors, shall, within five (5) days from the
                  Settlement Effective Date, execute a stipulation with BBP, in a form reasonably acceptable
                  to the Trustee, agreeing to release the bonds posted by BBP in the California Litigation and
                  for the return to BBP of all funds paid in connection with the posting of said bonds. For
                  the avoidance of doubt, the Trustee’s only obligation is to execute the stipulation, BBP
                  shall file the stipulation in the California Litigation and release of the bonds is not a
                  requirement of this Settlement Agreement.

                  (f)     Except as set forth herein, the Debtors and their representatives2 shall be
                  permanently enjoined from: (i) having any direct communications with BBP
                  including Michelle Justice and her counsel, (ii) publishing any false information
                  against Ms. Justice and her counsel or (iii) posting any false online reviews against
                  Ms. Justice and her counsel, including Milord Keshishian and any other attorney or
                  employee of Milord Law Group. For the avoidance of doubt, the Trustee may

 2
  For the avoidance of doubt, Edward Heldman III shall not be considered a “representative” of the Debtors during
 any period in which the Trustee is responsible for operating the Debtors’ business.


                                                         3
Case 2:20-cv-05581-DSF-GJS        Document 391-2         Filed 01/17/25      Page 35 of 38 Page
                                       ID #:7041



             communicate with BBP and its counsel during the pendency of the Debtors’
             bankruptcy cases, during any payout period under a confirmed plan of
             reorganization and/or while the Trustee is responsible for operating the Debtors’
             business.

       5.    Mutual Releases.
             (a)     Release of BBP: Effective on the Settlement Effective Date, the Trustee,
             on behalf of the Debtors and their Estates shall be deemed to have irrevocably and
             unconditionally, fully, finally, and forever waived, released, acquitted and
             discharged BBP from any and all claims, manner of actions, causes of action, suits,
             costs, debts, liabilities, obligations, rights of payment, dues, sums of money,
             accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies,
             agreements, promises, variances, trespasses, damages, orders, injunctions,
             judgments, executions and demands whatsoever, of whatever kind or nature,
             whether known or unknown, suspected or unsuspected, in law or equity, which any
             of the Debtors or their Estates have, may have, or may claim to have against BBP
             and that arose on or before the Settlement Effective Date, including any that may
             arise under or in connection with any order, injunction or judgment issued by the
             District Court in connection with the California Litigation. For the avoidance of
             doubt, the foregoing release shall not release any rights or obligations of the Parties
             under this Settlement Agreement or any plan of reorganization confirmed in the
             Debtors’ bankruptcy cases.

             (b)      Release by BBP: Effective on the Settlement Effective Date, BBP shall be
             deemed to have irrevocably and unconditionally, fully, finally, and forever waived,
             released, acquitted and discharged the Trustee, the Debtors and the Debtors’ Estates
             from any and all claims, manner of actions, causes of action, suits, costs, debts,
             liabilities, obligations, rights of payment, dues, sums of money, accounts,
             reckonings, bonds, bills, specialties, covenants, contracts, controversies,
             agreements, promises, variances, trespasses, damages, orders, injunctions,
             judgments, executions and demands whatsoever, of whatever kind or nature,
             whether known or unknown, suspected or unsuspected, in law or equity, which BBP
             has, may have or may claim to have against the Trustee, the Debtors or the Debtors’
             Estates that arose on or before the Settlement Effective Date, including any that
             may arise under or in connection with any order, injunction or judgment issued by
             the District Court in connection with the California Litigation. For the avoidance
             of doubt, the foregoing release shall not release any rights or obligations of the
             Parties under this Settlement Agreement or any plan of reorganization confirmed
             in the Debtors’ bankruptcy cases. For the avoidance of doubt, the foregoing release
             or the below general release under Section 1542 shall not apply to Edward Heldman
             III in the California Litigation.

             (c)     The Parties expressly waive and release any and all provisions, rights, and
             benefits conferred by § 1542 of the California Civil Code, which provides:




                                               4
Case 2:20-cv-05581-DSF-GJS          Document 391-2        Filed 01/17/25      Page 36 of 38 Page
                                         ID #:7042



                       Section 1542. Certain Claims Not Affected by General
                       Release. A general release does not extend to claims that the
                       creditor or releasing party does not know or suspect to exist
                       in his or her favor at the time of executing the release and
                       that, if known by him or her, would have materially affected
                       his or her settlement with the debtor or released party;
                or by any law of any state or territory of the United States, or principle of common
                law, which is similar, comparable, or equivalent to Section 1542 of the California
                Civil Code.
         6.     Withdrawal of Stay Relief Motion; Dismissal of California Litigation. The
 BBP Stay Relief Motion shall be held in abeyance until such time as the Bankruptcy Court has
 entered a final non-appealable order on the 9019 Motion (as defined below). Within five (5)
 business days of the Settlement Effective Date, BBP shall (i) withdraw the BBP Stay Relief Motion
 with prejudice and (ii) dismiss the California Litigation with prejudice as to the Debtors. Without
 limiting the generality of paragraph 5 hereof, the Parties hereby agree that, subject to the
 occurrence of the Settlement Effective Date, they shall not enforce or attempt to enforce against
 each other any order, injunction or judgment entered by the District Court in the California
 Litigation.

         7.     Expenses. The Parties shall bear their own costs, expenses, and attorneys’ fees
 incurred to date in connection with this Settlement Agreement and the negotiation of the terms
 hereof.
        8.      Miscellaneous.
                 (a)     Neither this Settlement Agreement, nor any statement made or action taken
 in connection with the negotiation of this Settlement Agreement, shall be offered or received in
 evidence or in any way referred to in any legal action or administrative proceeding among or
 between the Parties hereto, other than as may be necessary (i) to obtain approval of and to enforce
 this Settlement Agreement (including the releases contained herein); or (ii) to seek damages or
 injunctive relief in connection therewith.
                (b)     Each of the Parties hereto shall execute and deliver any and all additional
 papers, documents, and other assurances, and shall do any and all acts and things reasonably
 necessary or appropriate in conjunction with the performance of each of the Parties’ respective
 obligations hereunder.
                (c)     No provision of this Settlement Agreement is intended to confer any rights,
 benefits, remedies, obligations, or liabilities hereunder upon any person other than the Parties
 hereto and their respective successors and assigns.
               (d)     This Settlement Agreement shall be governed by and construed in
 accordance with the law of the state of Delaware without regard to any choice of law provisions.
                (e)    This Settlement Agreement may be signed in counterpart originals and
 delivered by facsimile or email, which, when fully executed, shall constitute a single original.




                                                 5
Case 2:20-cv-05581-DSF-GJS            Document 391-2         Filed 01/17/25      Page 37 of 38 Page
                                           ID #:7043



                (f)     The United States Bankruptcy Court for the District of Delaware shall retain
 exclusive jurisdiction (and the Parties consent to such retention of jurisdiction) over the Parties
 with respect to any disputes arising from or related to, or other actions to interpret, administer, or
 enforce the terms and provisions of, this Settlement Agreement.
                (g)      Each person or entity who executes this Settlement Agreement on behalf of
 another person or entity represents and warrants that he, she, or it is duly authorized to execute this
 Settlement Agreement on behalf of such person or entity, has the requisite authority to bind such
 person or entity, and such person or entity has full knowledge of and has consented to this
 Settlement Agreement. The representations and warranties set forth in this paragraph shall survive
 execution of this Settlement Agreement.
                  (h)     In executing the Settlement Agreement, each of the Parties represents and
 warrants, for itself, that she, he or it (i) does so with full knowledge of their respective available
 rights, (ii) is not relying and has not relied upon any representations made by any person with
 regard to the Settlement Agreement or the negotiation thereof, other than any written
 representations and agreements contained herein, (iii) has had available to it such information as
 it or its counsel considered necessary to making an informed judgment concerning the Settlement
 Agreement, and (iv) has conducted such investigation as it or its counsel deemed appropriate
 regarding the settlement and its rights and asserted rights in connection with the matters that are
 the subject of the Settlement Agreement.
                 (i)     The Parties hereto acknowledge that this Settlement Agreement constitutes
 the entire agreement between the Parties with respect to the subject matter hereof, and all prior
 agreements, negotiations and understandings with respect to the subject matter hereof are canceled
 and superseded by this Settlement Agreement. The Parties further acknowledge and agree that
 this Settlement Agreement shall remain in effect despite the discovery or existence of any new or
 additional fact, or any fact different from that which any of the Parties now knows or believes to
 be true.
               (j)     This Settlement Agreement shall not be modified, altered, amended, or
 vacated without the written consent of all Parties hereto or order of the Bankruptcy Court.
                (k)    This Settlement Agreement shall inure to the benefit of and be binding upon
 the successors and assigns of the Parties hereto and their respective affiliates.
                (l)      The headings of all sections of this Settlement Agreement are inserted solely
 for the convenience of reference and are not a part of and are not intended to govern, limit, or aid
 in the construction or interpretation of any term or provision hereof.
                (m)     No tax advice has been offered or given by any Party in the course of these
 negotiations, and each Party is relying upon the advice of its own tax consultant with regard to any
 tax consequences that may arise as a result of the execution of this Settlement Agreement.
         9.     Bankruptcy Court Approval. Promptly following the full execution of this
 Settlement Agreement, the Trustee shall move for approval of this Settlement Agreement by the
 Bankruptcy Court pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “9019 Motion”).
 BBP shall cooperate in good faith in connection with the Trustee’s efforts to obtain approval of
 this Settlement Agreement. In the event the Bankruptcy Court denies approval of this Settlement
 Agreement or any approval by the Bankruptcy Court is overturned or vacated on appeal, this


                                                   6
Case 2:20-cv-05581-DSF-GJS           Document 391-2        Filed 01/17/25      Page 38 of 38 Page
                                          ID #:7044



 Settlement Agreement shall be null and void and of no force and effect, and the Parties hereto shall
 be returned to the same positions they were in prior to execution of this Settlement Agreement, as
 if this Settlement Agreement had never been executed.
                                   [Signature Page(s) to Follow]


         IN WITNESS WHEREOF, this Settlement Agreement is hereby executed as of the date(s)
 set forth below:
 ACCEPTED AND AGREED TO BY:
  Dated:                                          Dated:

  William A. Homony, Solely in His                Beyond Blond Productions, LLC
  Capacity as Subchapter V Trustee For
  ComedyMX, Inc. and ComedyMX, LLC                By: ________________________

  By: ___________________                                Michelle Justice
                                                  Name: ______________________

  Name: _________________                                  President/CEO
                                                  Title: _______________________

  Title: __________________




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